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AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                        Case Number: 7:18-po-05056
Jose Edyn MENDOZA-Ramos
IAE
Honduras 1980


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about            May 30, 2018          in           Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Jose Edyn MENDOZA-Ramos was encountered by Border Patrol Agents near Sullivan City, Texas
on May 30, 2018. When questioned as to his citizenship, defendant stated that he was a citizen and
national of Honduras, who had entered the United States illegally on May 30, 2018 by rafting across
the Rio Grande River near the Hidalgo, Texas Port of Entry.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                         /S/ Martinez, Adelaido Border Patrol Agent
                                                                         Signature of Complainant
                                                                         Martinez, Adelaido Border Patrol Agent
                                                                         Printed Name of Complainant
Sworn to before me and signed in my presence,
June 01, 2018                                                    at     McAllen, Texas
Date                                                                    City/State

J Scott Hacker                       U.S. Magistrate Judge
        Name of Judge                    Title of Judge                                 Signature of Judge
